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IN THE UNITED sTATEs DISTRICT coURT

FoR THE wESTERN DIsTRICT oF TENNESSEE 05 AUG 2d PM 12= 37
wEsTERN DIVISION

 

 

ASAD EL-AMIN MUJII-IADEEN,
Plail'ltiff,
VS .

No. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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ORDER DENYING PLAINTIFF'S MOTION
FOR LEAVE TO AMEND

 

On January 18, 2005, plaintiff Asad El-Amin Mujihadeen,
a/k/a Ronald Turks, Tennessee Department of Correction (“TDOC”)
prisoner number 86217, an inmate at the West Tennessee State
Penitentiary (“WTSP”) in Henning, Tennessee, filed a motion seeking
leave to amend his consolidated complaints. The defendants have not
responded to this motion, and the time for a response has expired.

The plaintiff's motion does not attach a copy of the
proposed amendment, and it is not clear from the plaintiff's motion
precisely what his proposed amendment would assert. On the one
hand, the plaintiff seems to contend that Tenn. Code Ann. § 40-35-
503(b), coupled with the advisory Parole Release Decision Making

Guidelines used by the Tennessee Board of Probation and Parole

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create a liberty interest in parole. If that is, in fact, the
plaintiff's proposed amendment, such a claim would be subject to
sua sponte dismissal pursuant to 28 U.S.C. § 1915A(b)(1) for
failure to state a claim. The statute at issue plainly states that
“[r]elease on parole is a privilege and not a right,” and the
guidelines plainly state that they are “advisory.” Moreover, the
courts that have considered the issue have uniformly Concluded that
Tennessee law does not create a liberty interest in parole. gee
Wright v. Trammell, 810 F.2d 589 (6th Cir. 1987) (per curiam)
(Tennessee law creates no liberty interest in parole); State v.
Sutton, 166 S.W.3d 686, 691 (Tenn. 2005); Grimes v. State, No.
w2004-02897-ccA-R3-Pc, 2005 wL 1249060, at *2 (Tenn. crim. App. May
25, 2005); Davis V. Magles, NO. M2002-02564-COA-R3-CV, 2003 WL
22002660, at *4 (Tenn. Ct. App. Aug. 25, 2003); Pipher v. Tennessee
Bd. of Parole, No. M2000-01509-COA-R3-CV, 2002 WL 31443204, at *3
(Tenn. Ct. App. NOV. l, 2002); Ka¥lOr V. Bradley, 912 S.W.2d 728,
733 (Tenn. Ct. App. 1995); Wells v. Tennessee Bd. of Paroles, 909
S.W.2d 826, 828 (Tenn. Ct. App. 1995).1 Accordingly, to the extent
plaintiff seeks leave to amend to assert a claim that Tennessee law
creates a liberty interest in parole, his motion is DENIED.
Although the plaintiff also points to language in the

version of the Parole Release Decision Making Guidelines in effect

 

1 The validity of a claim that Tennessee law creates a liberty interest

in parole has been previously addressed in orders issued on February 18, 2003 and
March 24, 2005.

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at the time of each of his three parole hearings that “the Board
has determined that written reasons shall be given for departures
from the guidelines,” it is not clear precisely what claim
plaintiff seeks to raise based on this language.z¢Accordingly, that
aspect of plaintiff’s motion is DENIED.

IT Is so oRDERED this Q”Q day of August, 2005.

 

TED STATES DISTRICT JUDGE

 

2 The plaintiff has also demonstrated that that language has since been
altered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:03-CV-02044 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

